        Case 3:17-cv-00072-NKM-JCH Document CL
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     SECRETAR Y OF THE COM M O NW EALTH         :v.
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     Commonwealth ofVirginia                                                                           P            ERK
     Va.Code j-8.01-301,-310,-329,
                                 .55-218.l;57-51

                                                               USDistrictCourt(CharlottesvilleDivision)                                                         DistrictCourt




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    TO THE PERSON P PARING THIS AFFIDAVIT'
                                         .You mustcomply with the appropriaterequirementslisted on theback ofthisform .

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                    applies(seeNON- SIDENCE GROUNDS QU1 MENT onreverse).
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                    REQUIREMENT ON BACK)andthat
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                                                                 REQUIREMENT onreverse).            7
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                             y oftheCom mon#eallhY bïatutoryagentforServiceofProcess.TheSecretaly oftheCom monwealth sONLY
                 responsibility isto mail,by cellified mail,return receiptrequested,theenclosedpapersto you.lfyou haveany questions
                 concerning thesedocuments,yokll    nay wish to seek advice ti-om a Iawyer.
    SERVICE OF PROCEjS ISEFFECTIVE ON THE DATE THAT THE CERTIFICATE OF COMPLIANCE IS FILED W ITH THE
    ABOVE-NAM ED COURT.
                                                                            CERTIFICATE OF COM PLIAN CE
    1,theundersigned,ClerkintheOffîceoftheSecretal
                                                 -yoftheComlnonwealth,herebycertify thefollowing:
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                           J#.#...2..8.2q1!.................................,legalserviceintheabove-styledcasewaslaaadeuponthesecretaryofthe
          comlnonwealth,asstatutory agentforpersonsto beserved in accordancewith section 8.01-329 ofthe code ofvirginia,asamended.
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          receiptrequested,to the party designated t'                 o beserved with process in theAffidavit.

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                                                                                                          SECRETARY OFTHE COMMONW EALTI'I
     FORM DC-410(FRONT)I1/07
